            Case 5:21-cv-05574-JMG Document 44 Filed 06/07/22 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAMES MICHAEL AMOR, et al.,                :
               Plaintiffs,                 :
                                           :
                  v.                       :                 Civil No. 5:21-cv-05574-JMG
                                          :
COURTNEY CONOVER,                         :
                  Defendant.               :
__________________________________________

                                              ORDER

       AND NOW, this 7th day of June, 2022, IT IS HEREBY ORDERED as follows:

       1.      On June 3, 2022, the Court received a phone call from Brianna Kube regarding a

subpoena Ms. Kube had recently received from Defendant. Ms. Kube indicated that she believed

the subpoena was defective and also that she was experiencing difficulty complying with it. The

Court construes Ms. Kube’s call as an attempt to lodge an objection to Defendant’s subpoena

pursuant to Federal Rule of Civil Procedure 45(d)(2)(B).

       2.      The Court still, however, lacks adequate information to rule on Ms. Kube’s

objection. Accordingly, Ms. Kube is ORDERED to send an email to

PAED_Documents@paed.uscourts.gov no later than Thursday, June 9, 2022. This email shall:

            a. display the caption of this case (Amor v. Conover) and the docket number (5:21-cv-

               05574-JMG);

            b. attach a copy of the subpoena to which Ms. Kube is objecting;

            c. describe the reasons Ms. Kube believes the subpoena is defective;

            d. describe the efforts Ms. Kube has made to comply with the subpoena, if any; and

            e. describe why and how further compliance will cause Ms. Kube burden or hardship.
      Case 5:21-cv-05574-JMG Document 44 Filed 06/07/22 Page 2 of 2



3. Defendant is ORDERED to file a response to Ms. Kube’s objections no later than Friday,

   June 10, 2022. Defendant’s response shall:

       a. attach proof of service of the subpoena as required by Federal Rule of Civil

          Procedure 45(b)(4);

       b. address each deficiency identified in Ms. Kube’s objection and explain why the

          subpoena is compliant with the Federal Rules of Civil Procedure, especially Federal

          Rule of Civil Procedure 45;

       c. explain why the information sought from Ms. Kube is important to Defendant’s

          case; and

       d. identify good cause for why the subpoena was served after the time period for

          discovery in this case, which closed on May 31, 2022. See ECF No. 32 ¶ 4.

4. The parties are ORDERED to deliver a copy of this Order to Ms. Kube IMMEDIATELY.


                                        BY THE COURT:



                                        /s/ John M. Gallagher
                                        JOHN M. GALLAGHER
                                        United States District Court Judge




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